Case 1:21-cv-02265-APM Document 209 Filed 03/29/23 Page 1 of 1

AO 458 (Rev. 06/09) Appearance of Counsel

 

 

UNITED STATES DISTRICT COURT
for the

District of Columbia

 

Conrad Smith, et al )
Plaintiff )
Vv. ) Case No. 1:21-CV-02265-APM
Donald J. Trump, et. al., ee )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

_All Plaintiffs - C.Smith, D. McElroy, B. Evans, G. Latson, M. Marshall, M. Fortune, J. Deroche, R. Cleveland_ -

Date: 3\2zal23_ BZELZ ZZ

<A ttorney’s signature

 

 

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